Case 2:06-cr-00478-JS-MLO               Document 114              Filed 01/20/12   Page 1 of 7 PageID #:
                                                 343



UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA.
                                                                 MEMORANDUM OF
        -against-                                                DECISION AND ORDER
                                                                 06-CR-478 (ADS)
RAYMOND CASTRO,

                           Defendant.
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APPEARANCES:

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SPATT, District Judge.

        Presently before the Court is a motion by the Defendant Raymond Castro (“Castro”) for a

sentence reduction pursuant to 18 U.S.C. § 3582(c)(2). For the reasons that follow, the Court

finds that Castro is ineligible for a sentence reduction and therefore his motion is denied.

                                            I. BACKGROUND

        On April 26, 2007, pursuant to a plea agreement with the Government, Defendant

Raymond Castro pled guilty to a lesser-included offense of Count One of the indictment, which

charged him with distributing five grams or more of cocaine base in violation of 21 U.S.C. §§

841(a)(1) and 841(b)(1)(B). The Pre-Sentence Report (“PSR”) filed by the probation department

found a total drug quantity of 8.21 grams of cocaine base and 1.4 grams of cocaine, resulting in a
                                                             1
Case 2:06-cr-00478-JS-MLO          Document 114         Filed 01/20/12     Page 2 of 7 PageID #:
                                            344



base offense level of 26. In addition, the PSR noted that the Defendant was considered a career

offender based on the nature of his prior convictions and hence his base offense level was

increased to 34, pursuant to Guideline § 4B1.1(b)(2).

       On July 30, 2007, a sentencing hearing was held. Accepting the facts in the PSR, the

Court determined, based upon the quantity of drugs involved in his offense, that Castro had a

base offense level of 26. The Court noted that the Defendant was a career offender with two

prior felony drug convictions and a prior crime of violence, and thus had a Criminal History

Category of VI. Then, applying the career offender guidelines to Castro’s conviction of 21

U.S.C. §§ 841(a)(1) and 841(b)(1)(B) (5 year mandatory minimum, 40 year maximum), the total

offense level was raised to 34 pursuant to §4B1.1(b) (offense statutory maximum of 25 years or

more). However, after a three-level reduction for acceptance of responsibility, the total offense

level was 31. Accordingly, the Court found that the applicable Guidelines sentencing range was

188–234 months, with a 60–month statutory minimum. After consideration of the 18 U.S.C.

§ 3553 factors, including the need for the sentence imposed to reflect the seriousness of the

offense and to promote respect for the law, this Court sentenced Castro to a period of 152 months

imprisonment followed by four years of supervised release—a non-guideline sentence that was

36 months below the minimum guidelines range.

       Effective November 1, 2011, the United States Sentencing Commission (“Sentencing

Commission”) approved part A of Amendment 750, which altered the offense levels in § 2D1.1

of the U.S. Sentencing Guidelines Manual (“U.S.S.G.” or “Guidelines Manual”) applicable to

crack cocaine offenses (the “Guidelines Amendment”). See U.S.S.G. §2D1.1 (2011). In

addition, the Sentencing Commission gave this amendment retroactive application. See U.S.S.G.




                                                  2
Case 2:06-cr-00478-JS-MLO          Document 114       Filed 01/20/12      Page 3 of 7 PageID #:
                                            345



§ 1B1.10(c) (2011). Relying on the Guidelines Amendment, Castro now seeks a reduction in his

sentence.

       The parties disagree as to whether Castro is eligible for a sentence reduction. The

Government contends that because Castro was sentenced as a career offender pursuant to

§ 4B1.1, he is ineligible for a sentence reduction. On the other hand, Castro contends that under

the new drug quantity guidelines for crack cocaine, he should have a base offense level of 29, not

31, and thus his guideline range of imprisonment should now be 151–188 months instead of

188–235 months. The Defendant does not specifically address whether he is ineligible based

upon his status as a career offender.

                                        II. DISCUSSION

   A. Relevant Law

       As a general rule, a federal court “may not modify a term of imprisonment once it has

been imposed”. 18 U.S.C. § 3582(c); Cortorreal v. United States, 486 F.3d 742, 744 (2d Cir.

2007). However, Congress has allowed an exception to that rule, providing in 18 U.S.C. §

3582(c)(2) that:

               in the case of a defendant who has been sentenced to a term of
               imprisonment based on a sentencing range that has subsequently
               been lowered by the Sentencing Commission pursuant to 28 U.S.C.
               994(o), . . . the court may reduce the term of imprisonment, after
               considering the factors set forth in section 3553(a) to the extent
               that they are applicable, if such a reduction is consistent with
               applicable policy statements issued by the Sentencing
               Commission.

18 U.S.C. § 3582(c)(2). The policy statement governing § 3582(c) proceedings is located in

§ 1B1.10 of the Guidelines Manual, and, effective November 1, 2011, gives retroactive effect to

the Guidelines Amendments. See § 1B1.10(c).



                                                  3
Case 2:06-cr-00478-JS-MLO           Document 114        Filed 01/20/12      Page 4 of 7 PageID #:
                                             346



       In Dillon v. United States, --U.S.--, 130 S. Ct. 2683, 177 L. Ed. 2d 271 (2010), the U.S.

Supreme Court identified a two step-inquiry for courts to follow in adjudicating a motion for a

sentence reduction under 18 U.S.C. § 3582(c). At the first step, a court must determine whether

the defendant is eligible for a sentence reduction. Dillon, 130 S. Ct. at 2691. If, and only if, the

court finds that the defendant is eligible for a sentence reduction under § 3582(c) and § 1B1.10,

“then the second step of the analytical framework set forth in Dillon requires the district court ‘to

consider any applicable § 3553(a) factors and determine whether, in its discretion, the reduction

authorized by reference to the policies relevant at step one is warranted in whole or in part under

the particular circumstances of the case’”. United States v. Mock, 612 F.3d 133, 137 (2d Cir.

2010) (quoting Dillon, 130 S. Ct. at 2692).

       In order for a defendant to be eligible for a sentence reduction, the defendant’s applicable

guideline range must have been lowered by the Guidelines Amendment. See § 1B1.10(a)(1); see

also United States v. Johnson, 633 F.3d 116, 117 (2d Cir. 2011). Whether a defendant’s

guideline range would be lowered under the Guidelines Amendment requires a court to

“determine the amended guideline range that would have been applicable to the defendant if the

[Guideline Amendment] had been in effect at the time the defendant was sentenced”.

§ 1B1.10(b)(1). “In making such determination, the court shall substitute only the [Guideline

Amendment] for the corresponding guideline provisions that were applied when the defendant

was sentenced and shall leave all other guideline application decisions unaffected.” Id.

Application Note 1 to § 1B1.10 further clarifies that the applicable guideline range referenced in

§ 1B1.10 is “the guideline range that corresponds to the offense level and criminal history

category determined pursuant to § 1B1.1(a), which is determined before any departure provision

in the Guidelines Manual or any variance”. § 1B1.10 Application Note 1(A).


                                                    4
Case 2:06-cr-00478-JS-MLO          Document 114         Filed 01/20/12      Page 5 of 7 PageID #:
                                            347



   B. As to Whether the Defendant is Eligible for a Sentence Reduction

       The Defendant does not dispute that he was sentenced under the Career Offender

Guidelines, U.S.S.G. § 4B1.1. Under this guideline, “if the offense level for a career offender

from the table in this subsection is greater than the offense level otherwise applicable, the offense

level from the table in this subsection shall apply.” § 4B1.1(b). Thus, because the offense

statutory maximum for Castro’s crime at the time of sentencing was 25 years or more, his base

offense level increased from 26 to 34. The Defendant now argues that under the new

amendment, he would only be facing 20 years or more, but less than 25 years, and accordingly

his offense level would only have increased from 26 to 32.

       The Guidelines Amendment states that a court may reduce a defendant’s term of

imprisonment if the guideline range applicable to that defendant has been lowered. However, the

Sentencing Commission has lowered the guideline sentencing range as set forth in the crack-

cocaine guidelines in § 2D1.1, not the career-offender guidelines in § 4B1.1. This Court relied

solely on the career-offender guidelines to determine Castro’s sentence, a fact which even the

Defendant recognizes. (See Deft. Mem. at 3) (“since Castro was a Career Offender, Section

4B1.1 of the Guidelines applied Castro’s Career Offender Adjustment at a level 34.”) “[T]he

drug-guideline calculations had been made but, as here, were superseded by career-offender

calculations and played no role in the defendant’s ultimate sentence.” United States v. Dunbar,

660 F.3d 54, 57 (1st Cir. 2011). Thus, the “Offense Statutory Maximum” in § 4B1.1 upon which

career offender sentences depend, and which forms the basis of the Defendant’s argument for

resentencing, is not the guidelines range addressed by the Guidelines Amendment. The

Defendant does not explain or offer any support for how the statutory maximums pursuant to 21




                                                   5
Case 2:06-cr-00478-JS-MLO           Document 114         Filed 01/20/12      Page 6 of 7 PageID #:
                                             348



U.S.C. § 841 for Castro’s crime that describe a 5 year mandatory minimum and 40 year

maximum sentence, have been in any way altered by the Guidelines Amendment.

       In addition, several federal courts, including the Second Circuit, have concluded that one

sentenced as a career offender is not entitled to apply for resentencing based on a retroactive

adjustment in the drug guidelines. See United States v. Martinez, 572 F.3d 82, 85 (2d Cir. 2009)

(“[A] defendant convicted of crack cocaine offenses but sentenced as a career offender under

U.S.S.G. § 4B1.1 is not eligible to be resentenced under the amendments to the crack cocaine

guidelines.”); United States v. Caraballo, 552 F.3d 6, 9–10 (1st Cir. 2008) (career-offender

sentence not “based on” crack cocaine guideline); United States v. Wesson, 583 F.3d 728, 731

(9th Cir. 2009) (collecting cases across circuits); United States v. Figueroa, No. 06 Civ. 40007,

2012 WL 113546, at *2 (D. Mass. Jan. 12, 2012) (“defendants sentenced under the career-

offender guideline are ineligible for sentence reductions resulting from the amended crack-

cocaine guidelines.”).

       This conclusion is not altered by the fact that the Court imposed a non-guidelines

sentence. The Sentencing Commission explicitly stated when amending Section 1B1.10 that

“the amendment . . . clair[ifies] that the applicable guideline range referred to in § 1B1.1(a),

which is determined before consideration of any departure provision in the Guidelines Manual or

any variance . . .” U.S. Sentencing Comm’n, 76 Fed. Reg. 41332-01, 41334 (July 13, 2011).

This resolved a circuit split “about when, if at all, the court applies a departure provision before

determining the ‘applicable guideline range’ for purposes of 1B1.10”. Id. (noting that the First,

Second, and Fourth Circuits had applied certain departures in determining the applicable

guideline range, whereas the Sixth, Eighth, and Tenth Circuits had defined the applicable

guideline range as the one established before any departures). Accordingly, the Second Circuit’s


                                                    6
Case 2:06-cr-00478-JS-MLO           Document 114         Filed 01/20/12      Page 7 of 7 PageID #:
                                             349



holding in United States v. McGee, 552 F.3d 225 (2d Cir. 2009) that departures under U.S.S.G. §

4A1.3—the provision governing departures based on inadequacy of criminal history—are

relevant when determining the applicable guidelines range of a defendant who otherwise

qualifies as a career offender, is no longer good law. See United States v. Rivera, 662 F.3d 166,

182 (2d Cir. 2011) (recognizing both McGee 's abrogation and the fact that the defendant in

Rivera would also not be eligible for a sentence reduction under the new amendment where the

sentencing judge departed from the career offender guidelines based on the defendant’s mental

condition under U.S.S.G. § 5H1.3).

       Therefore, “at least for purposes of a motion for a reduced sentence, the record discloses

that defendant was sentenced as a career offender under U.S.S.G. § 4B1.1. Consequently, under

settled case law in this Circuit, he is ineligible for a reduction in sentence based on the crack

cocaine amendments.” U.S. v. Mock, 612 F.3d 133, 135 (2d Cir. 2010) (citing United States v.

Martinez, 572 F.3d 82, 85–86 (2d Cir. 2009) (per curiam)).

                                       III. CONCLUSION

For the foregoing reasons, it is hereby

       ORDERED, that the Defendant’s motion for a sentence reduction pursuant to 18 U.S.C.

§ 3582(c)(2) is denied.

SO ORDERED.
Dated: Central Islip, New York
January 20, 2012



                                                             /s/ Arthur D. Spatt
                                                         ARTHUR D. SPATT
                                                        United States District Judge




                                                    7
